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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SECURITIES AND EXCHANGE                         §
COMMISSION,                                     §
                                                §
       Plaintiff,                               §
                                                §
       vs.                                      §
                                                §
MAURICIO CHAVEZ, GIORGIO                        §          CIVIL ACTION NO. 4:22-CV-03359
BENVENUTO and CryptoFX, LLC,                    §
                                                §          JUDGE ANDREW S. HANEN
       Defendants.                              §
                                                §
CBT Group, LLC,                                 §
                                                §
       Relief Defendant.                        §


                     RECEIVER’S THIRD INTERIM STATUS REPORT

       John Lewis, Jr. (“Receiver”), the court-appointed Receiver for Mauricio Chavez

(“Chavez”), Giorgio Benvenuto (“Benvenuto”), CryptoFX, LLC (“CryptoFX”) and CBT Group,

LLC (“CBT”), pursuant to the Order Appointing Receiver (“Receivership Order”) (Doc. No. 11)

files his Third Interim Status Report (“Report”), showing the Court as follows:

                              I.      EXECUTIVE SUMMARY

       1.      In the ninety days since the filing of the Second Interim Report, the Receiver and

his team have continued the investigation of the case, which included analysis of thousands of

pages of company records, including Salesforce data; forensic analysis of financial records,

including cryptocurrency transactions, and third-party records; taking depositions and interviews

with CryptoFX former employees and sponsors/leaders and collection of documents in their

possession; conducting interviews with CryptoFX investors and/or their counsel and collection

and review of documents obtained from investors; inspection of Chavez’s apartment and other




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residence; analysis of receivership assets and sale of the same, both real and personal property;

maintaining and updating the Receiver’s website; and monitoring of media coverage of this case.

       2.      It is clear from deposition testimony, interviews with former employees, leaders,

investors, and from the company documents, financial records as well as cryptocurrency records,

that Defendants were operating a Ponzi scheme, where previous investors were paid with funds

collected from newer investors.     The Salesforce data obtained by the Receiver shows that

CryptoFX and the company raised over $300 million from over 40,000 investors from around the

country.

       3.      Additionally, while the majority of investments as well as payments of returns on

CryptoFX contracts were made in cash, many investors paid and were paid in cryptocurrency. The

current investigation of the available cryptocurrency transactions conducted by BlockTrace, the

third party engaged by the Receiver to assist with cryptocurrency transaction tracing, has revealed

that even though Defendants raised over $300 million in investor funds, their profit from

cryptocurrency trading was minimal and woefully insufficient to pay the promised 15% monthly

returns as well as the commissions and bonuses to sponsors/leaders.

       4.      In addition to Ponzi payments, commissions and bonuses paid to sponsors, the

records further show that investor funds were improperly diverted.

                                   II.     INTRODUCTION

       5.      The Receiver filed his First Interim Report on November 28, 2022 (Doc. No. 33)

and his Second Interim Status Report on January 31, 2023 (Doc No. 50). This Third Interim Status

Report is being submitted in accordance with the Receivership Order ¶ 52-53. The Receiver’s

First and Second Interim Status Reports and the exhibits thereto, are available for all investors on




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the Receiver’s website at https://cryptofxreceiver.com/case-documents.aspx. This Report covers

the period between January 1, 2023 (the filing of the Second Report) to March 31, 2023.

        6.      This Report is based upon the continued investigation of the case conducted by the

Receiver and his team, which has included motion practice; sale of receivership assets, both real

and personal property; listing of additional personal property for sale; witness deposition and

interviews; collection of documents from CryptoFX leaders and former employees; forensic

analysis of financial records, including cryptocurrency records; review of CryptoFX documents

maintained by the Defendants and obtained from investors, employees, sales agents, and third

parties; inspection of Chavez’s apartment and other residence; communications with investors;

and monitoring of media coverage of this case.

        7.      The Report includes (a) a general summary of the work done since the Second

Interim Report by the Receiver and his team; (b) cash on hand and estimated accrued expenses as

well as schedule of receipts and disbursements; (c) description of all known receivership property;

(d) description of liquidated and unliquidated claims; (f) list of all known creditors; and (g)

Receiver’s proposed plan for administering the Receivership.

        8.      The Receiver will provide further quarterly reports as provided for in the

Receivership Order. Id. at ¶¶ 52-53.

                   III.    SUMMARY OF RECEIVERSHIP OPERATIONS

        9.      During the period covered by this Report, the Receiver and his team continued to

analyze CryptoFX business documents (both paper and electronically stored) as well as documents

produced by CryptoFX employees, sales agents, cryptocurrency platforms or exchanges, financial

institutions, title companies, and other third parties.




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       10.     As stated in the Receiver’s First Status Report, the Receiver has uncovered forensic

evidence indicating that the Defendants raised over $300 million from over 40,000 investors from

several states. See Analysis by Gregory Hays, attached as Exhibit A to Receiver First Interim

Report (Doc. No. 33).

       11.     Since the filing of the Second Report, the Receiver’s team deposed another

CryptoFX employee, Tony Lemus, and has interviewed many CryptoFX former employees,

sponsors/leaders, and investors, and collected CryptoFX business records in their possession.

       12.     During the relevant time period, the Receiver continued to issue third-party

subpoenas for the collection of documents and information to additional financial institutions,

cryptocurrency platforms, title companies, and other fact witnesses. As of the filing of this Report

the Receiver has issued 82 subpoenas.

       13.     Further, the Receiver obtained access to the CryptoFX Salesforce account, a

customer management platform used by CryptoFX to record investor data, including amounts

invested and paid out to investors. This information is critical in determining the amount of Ponzi

payments made to investors and the commissions paid to sponsors.

       14.     The Receiver avers that the commissions and bonuses paid to all sales

agents/sponsors/leaders were unlawfully obtained from investors by means of artifice and fraud.

Therefore, sales commissions and bonuses paid to sponsors should be turned over to the Receiver.

The Receiver has identified approximately 100 key sales agents/leaders for CryptoFX, located

primarily in Texas, Illinois, Louisiana, California, and Florida. The Receiver sent demand letters

to them requesting an accounting of all monies received from CryptoFX in the form of

commissions, bonuses, and Ponzi payments so the Receiver could prepare an IRS W9 form, return

of all CryptoFX documents as well as return of all CryptoFX assets, including cash in their




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possession. Several of the leaders have responded to the Receiver’s demand letter and turned over

documents in their possession, including CryptoFX accounting spreadsheets used by them to

record new contracts, payments to sponsors, payments to earlier investors, and the balance sent to

CryptoFX main office in Houston.

       15.     Requests for production of documents and information were also sent to all known

CryptoFX and CBT employees, several of whom have sent documents in their possession and

agreed to interviews with the Receiver’s counsel.

       16.     The Receiver was informed by investors that certain CryptoFX leaders were

continuing to communicate with investors on behalf of CryptoFX promising payments on their

contracts and also misleading them about filing a complaint with the Receiver and SEC. The

Receiver sent cease and desist letters to these leaders.

       17.     On February 9, 2023, counsel for the Receiver, Greg Hays of the Receiver’s team,

and counsel for SEC, attended a meeting via Zoom with Santa Monica, CA community members

who had invested in CryptoFX.

       18.     In addition to some of the devices seized from the CryptoFX offices,1 the Receiver

has imaged an additional laptop turned over by a former CryptoFX employee. An updated list of

the CryptoFX electronic devices the Receiver has seized is included herein as Exhibit A.

       19.     On January 20, 2023, the Receiver filed his Liquidation Plan. (Doc. No. 47).

       20.     During the deposition of a CryptoFX employee, the Receiver identified an

additional CryptoFX cryptocurrency wallet operated by Julio Taffinder to make Ponzi payments

to investors at the direction of Chavez. This Exodus wallet contained various crypto coins. The




1
  See List of devices seized by the Receiver from the CryptoFX Blalock office attached as Exhibit
C to Receiver’s First Interim Report (Doc. No. 33).


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Receiver liquidated the account and funds were transferred into the CryptoFX trust account in

April 2023.

        21.     The Receiver had previously retained Mark Dimas Properties, a real estate broker,

to assist with the marketing and sale of Receivership real estate assets. During the relevant period,

the Receiver sold a property located at 0 Hogan Lane, Hempstead, TX 77445. See Order

Approving Sale of Real Property (Doc. No. 57). The estate’s proceeds from the sale of Hogan

Lane property were $64,758.11. See Master Statement of the Sale of 0 Hogan Lane, Hempstead,

TX, attached as Exhibit B.

        22.     In addition, the Receiver has retained Appraisal Management and Compliance

(Appraisal MC), MB Lane & Associates, Inc., and Scott Stephens & Associates to conduct

appraisals of Receivership real property consisting of 25.1320 acres located on Mack Washington

Rd., Hempstead, TX 77445. This property was purchased by CBT in November 2021 for

$2,050,000.00. However, the independent appraisers employed by the Receiver, MB Lane &

Associates, Inc. and Scott Stephens & Associates, appraise the property at $1,080,000 and

$1,150,000 respectively. See attached MB Lane & Associates, Inc. Appraisal Report, attached as

Exhibit C; Scott Stephens & Associates Appraisal Report attached as Exhibit D. The Receiver

intends to list this property for sale in the next 30 days.

        23.     The Receiver had previously retained Michael Poutous Auto Sales to market and

sell receivership automobiles, including a 2020 Volkswagen Tiguan, 2022 BMW X6 M50i, and

2021 Mercedes-Benz GLE Hybrid SUV. The Court granted the Receiver’s Motion to approve the

sale of personal property relating to the Tiguan, (Doc. No. 67) as well as the sale of Chavez’s

Mercedes and BMW (Doc. No. 70). The Receiver has concluded the sale of the Tiguan and is

awaiting final documentation on the same. Additionally, the Receiver is currently in negotiations




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for the sale of the BMW. The Mercedes is still listed for sale.2 See Order Approving Sale of the

BMW and Mercedes (Doc. No. 70).

         24.   The Receiver employed Webster’s Auctions, a professional appraiser/auctioneer,

to conduct the inventory of the personal property at Defendant Chavez’s residence and the sale of

certain receivership personal property.      On January 5, 2023, the Receiver, together with

undersigned counsel, counsel for Chavez, and Webster Auctions, inspected Chavez’s residence.

An inventory of the items found at Chavez’s residence was prepared by Webster’s. The Receiver

has requested turnover of some of this property and plans to list these items for sale in the next 30

days.

         25.   On December 27, 2022, the Receiver filed a Motion to Show Cause why Defendant

Mauricio Chavez should not be held in civil contempt for failing to comply with this Court’s

September 29, 2022 Receivership Order (Doc. No. 27). Chavez filed his Response on January 17,

2023 (Doc. No 45); the Receiver filed his Reply in support of the Motion on January 27, 2023

(Doc. No. 49); and Chavez filed a Sur-Reply in opposition of the Motion on February 06, 2023

(Doc. No. 51). Additionally, on March 15, 2023, Chavez filed a Motion for Attorney’s fees (Doc.

No. 61), which the Receiver opposed (Doc. No. 65). Oral argument on the Motion to Show Cause

and Chavez’s Motion for Attorney’s Fees was held on March 23, 2023. The Court denied the

Motion to Show cause without prejudice to filing a motion to compel. (Doc. No. 67). The Court

granted Chavez’s Motion for Attorneys’ fees. The Court also allowed the Receiver’s first interim

fee application. Id.

         26.   Additionally, Chavez, through counsel, served discovery requests on the Receiver

requesting access to all CryptoFX records in the Receiver’s possession as well as records received


2
  https://cryptofxreceiver.com/assets-for-sale.aspx; https://poutousautosales.com/details.php?
vehicle=420612.


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in response to third-party subpoenas. The Receiver has produced all CryptoFX Salesforce data as

well as other documents requested by Chavez.

       27.     Pursuant to the Receivership Order ¶ 56, the Receiver employed BlockTrace, LLC

to serve as the Receiver’s cryptocurrency consultants in this matter. The Court granted Receiver’s

Motion to Employ BlockTrace on January 6, 2023. (Doc. No. 43). Beginning in January 2023,

BlockTrace began an extensive analysis of all the available cryptocurrency records. Currently,

BlockTrace’s analysis of these transactions shows that while CryoptoFX raised over $300 million

in investor funds, its profit from any cryptocurrency trading was only about $2.6 million.

BlockTrace’s investigation of CryptoFX-related cryptocurrency transactions is ongoing and

involves over 12,000 cryptocurrency transactions representing over $130 million. This is a

massive investigation involving over 6,800 cryptocurrency addresses and 70 different types of

cryptocurrency. These are crypto accounts held at different platforms or exchanges by Chavez,

CryptoFX leaders, as well CryptoFX investors who received CryptoFX Ponzi payments in

cryptocurrency. In its investigation, BlockTrace has also identified accounts held at foreign

exchanges (Binance and Switchain), which are not accessible from the US and require a Virtual

Private Network (VPN) to access. The investigation is further complicated by the fact that some

of the accounts identified by BlockTrace are self-custodial accounts, i.e. fully managed by the

account holder and for which the cryptocurrency platforms or exchanges are not able to provide

any information or transaction data. The Receiver is determining the cost/benefit of pursuing these

and the foreign accounts and if the additional tracing will lead to a substantial recovery. While

BlockTrace’s tracing and analysis of these cryptocurrency transactions has been and continues to

be time- and labor-intensive, the Receiver believes they are necessary in order to determine if any




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funds are recoverable for the benefit of the estate. A full report of BlockTrace’s extensive research

will be filed before the Receiver’s 4th Interim Report is filed in July.

       28.     The Receiver and his team have continued to maintain and regularly update the

Receiver’s website (http://cryptofxreceiver.com/) with new court filings, media coverage, and

other information pertinent to this case. The information, where possible, is provided in both

English and Spanish. In addition, the website provides answers to frequently asked questions and

access to the complete court docket with no PACER charges. The Receiver and his team are also

working with KCC to optimize the website with key words for easier Google search by “investors”

and others.

       29.     The Receiver’s team also continues to monitor the Receiver’s email and phone

number, both of which are posted on the Receiver’s website, for “investors”/victims to contact the

Receiver and his team. As of the filing of this Report, the Receiver’s team has received

approximately 3,500 calls and emails from investors.

       30.     Public awareness of this case continues to grow. The Receiver’s team continues to

monitor the media coverage of this case, and links to news articles discussing this case have been

posted on the Receiver’s website as well. Currently, there are fourteen links to news articles and

TV stories on the Receiver’s website.

       31.     Additional work performed by the Receiver and his team since the filing of the

Second Interim Report includes:

               a. File with the Internal Revenue Service (“IRS”) an additional request for
                  extension of the deadline to submit W2 and 1099 forms for CryptoFX and CBT
                  employees and contractors;

               b. Registration of the Receivership Order in the US District Courts for the District
                  of Massachusetts, Connecticut, Southern District of New York and Southern
                  District of Florida;




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               c. Conducting public records searches and related due diligence to affiliated
                  parties, entities, and other potential relief defendants;

               d. Record lis pendens notices on additional real estate the Receiver believes are
                  Receivership property.

        32.    As a result of these and other activities, the Receiver and his team believe that they

have gained a good understanding of the facts and issues that will be most critical to the effective

administration of this Receivership.

IV.     CASH ON HAND AND ESTIMATED ACCRUED ADMINISTRATIVE EXPENSES

        33.    On March 31, 2023, the Receivership Estate had the following cash on hand:

$3,589,050 deposited in four trust accounts named for each of the Defendants as of the end of the

Application Period (March 31, 2022). These funds were received by (i) taking possession of cash

located at the Defendants’ office located at 1124 Blalock, Houston, Texas 77055 ($53,345.56); (ii)

taking possession of safes located at the Defendants’ office ($392,765.37); (iii) taking possession

of First Community Credit Union bank accounts owned by Benvenuto ($451,448.14); (iv) taking

possession of Bank of America bank accounts owned by Benvenuto ($21,325.14); (v) taking

possession of a Simmons bank account owned by Benvenuto ($80,763.55); (vi) taking possession

of a Simmons bank account owned by CBT ($247,916.46); (vii) taking possession of a Regions

bank account owned by Chavez ($781.62); (viii) proceeds from liquidating Coinbase, Inc. account

($982,924.31); (ix) proceeds from liquidating Blockchain.com account ($1,161,140.95); (x) taking

possession of the balance of a retainer from Burford Perry LLC ($155,631.00); (xx) taking

possession of the balance of retainers from Gerger Hennessy & Martin LLP ($214,487.50); taking

possession of the balance of retainers from Jones Walker LLP ($102, 228.70); taking possession

of CryptoFX funds turned over by Defendant Mauricio Chavez ($55,000); proceeds from




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liquidating real property at 0 Hogan Lane ($64, 758.11); and proceeds from liquidating televisions

($3,040.00). See Schedule of Receipts and Disbursements, attached as Exhibit E.

       34.      All four Receivership trust accounts are held with Flagstar Bank, N.A., a wholly-

owned subsidiary of New York Community Bankcorp, Inc.               The four trust accounts were

previously held with Signature Bank, N.A., which was acquired by Flagstar in March 2023.

Flagstar acquired all deposits of Signature Bank. All Receivership deposits are fully insured by

the FDIC and the full faith and credit of the U.S. government up to $250,000 and are fully

collateralized and insured by a separate surety bond through the Receiver’s banking vendor for

any amounts above $250,000. Additionally, Flagstar continues to be an approved depository by

the U.S. Trustee in bankruptcy cases.

       35.      Other Assets: In addition to the cash on hand listed above, the Receiver has on hand

the following assets. See also List of Receivership Liquidated and Unliquidated Assets, attached

as Exhibit F.

                            Asset                            Estimated Amount/Value
         2021 Mercedes-Benz GLE AMG                                          $60,000
         2022 BMW X6 M50i (not fully paid off)                               $30,000
         2020 Volkswagen Tiguan                                              $15,000
         Various Laptops and desktop computers                                $5,000
         Real Property: Mack Washington, Hempstead,                       $1,080,000
         TX
         Real Property: 28 Lawrence Marshall, Dr.                                $68,000
         Hempstead, TX
         Bitcoin (BTC)                                                        $14,031.12
         Tether (USDT)                                                        $62,923.86
         Solana (SOL)                                                               $.10


       36.      It is the Receiver’s plan to prudently market real estate and other assets of the

Receivership for the highest prices obtainable. The Court approved the Receiver’s Motions to

Approve the Sale of real property located at 0 Hogan Lane and 28 Lawrence Marshall Dr. (Doc.




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Nos. 57, 62). The estate netted $64,758.11 from the sale of Hogan Lane. The Receiver expects

the sale of the Lawrence Dr. property to net a similar amount. (The lots are of a similar size and

condition). Additionally, the Court granted the Receiver’s Motion to approve the sale of personal

property relating to Chavez’s 2020 Volkswagen Tiguan, (Doc. No. 67) as well as the sale of

Chavez’s Mercedes and BMW (Doc. No. 70). The BMW was financed through Santander

Consumer USA and has a current payoff amount of approximately $37,000. The Receiver

anticipates to net approximately $30,000 from the sale of the BMW and approximately $60,000

from the sale of the Mercedes.

       37.     The Receiver is continuing his investigation to locate additional assets of the

Receivership Estate and will develop a distribution plan, subject to the Court’s approval.

       38.     During the relevant period covered by this Report, the Receivership Estate has

incurred administrative expenses in the amount of $23,623.19 as a result of the efforts to marshal

and preserve the assets of the Receivership. Of these expenses, $23,294.14 were advanced by

SHB, which constitutes a $ 20,634.60 reduction from the $43,928.74 actually incurred by SHB.

Pugh Accardo incurred $.30, and Hays and $328.75 in administrative expenses during the relevant

period. See Table describing administrative expenses incurred by the Receivership between

January 1, 2023 and March 31, 2023, attached as Exhibit G.

       39.     The Receiver and the professionals working with him are well aware that the fees

and expenses associated with the administration of the Receivership are paid from the assets of the

Receivership Estate. The goal of all involved professionals is to conclude this Receivership as

quickly and efficiently as can be reasonably accomplished thereby maximizing recovery to

victims.




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       40.     For the period Jan. 1, 2023 to March 31, 2023, the unbilled professional fees

incurred are as follows: $46,672.50 John Lewis, Jr.; $323,534.50 Shook, Hardy & Bacon L.L.P.;

1,079.5 Pugh Accardo, LLC; $102,809.40 Hays Financial Consulting, LLC; and $153,090.00

BlockTrace Inc. The Receiver’s professional fees listed above have been reduced by $3,360.00

from a total of $50,032.50. Further SHB’s fees have been reduced by $39,907.50 from a total

incurred fees $363,442.00.

       41.     Additionally, during the period covered by the Report, several members of the

Receiver’s team have worked approximately 135 hours recording emails and communications

from investors; translating emails and calls from investors from Spanish to English; assisting

during interviews with CryptoFX employees and investors; maintaining intake spreadsheets;

assisting with subpoenas and recording of lis pendens notices; research of third party assets; as

well as other tasks. The standard SHB rate for these services is $350/hour. In addition to the

reduction of his fees and those of SHB as stated above, as well as the reduction in the expenses

incurred by SHB, for the benefit of the investors in this case, the Receiver has not billed the estate

for these additional services performed by his team.

       42.     As provided for in the Receivership Order, the Receiver and the professionals

working with him will apply to the Court for approval to pay professional fees and expenses.

       43.     The Receiver advises that administration of the estate is expensive because there

has been little cooperation from Chavez (See Receiver’s Motion for Show Cause and Motion to

Compel), the lack of a centralized accounting system, cash-based transactions, and the geographic

scope, complexity, and financial impact of the fraud.




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                V.      SCHEDULE OF RECEIPTS AND DISBURSEMENTS

         44.    As of the filing of this Report, no disbursements to “investors”/victims or creditors

have taken place. For a more detailed description of Receivership receipts, see supra, Section IV,

¶ 33.

          VI.    DESCRIPTION OF ALL KNOWN RECEIVERSHIP PROPERTY

         45.    At this preliminary stage, the Receiver estimates a total of $ 9,464,511 in known

liquidated and unliquidated Receivership assets. For a more detailed description of currently

known Receivership property and corresponding approximate value, see supra, Section IV, ¶¶ 33,

35-36.

         46.    It is the Receiver’s plan to prudently market and sell the real estate and other assets

of the Receivership for the highest prices obtainable. All sales of real estate must be approved by

the Court, following a motion to the Court and hearing, if necessary. See Receiver’s Liquidation

Plan (Doc. No. 47).

         47.    The Receiver and his team’s investigation is continuing; however, the investigation

shows additional Receivership property held by third parties. The Receiver plans to seek a

turnover of all of these assets and also move for the expansion of the Receivership Order to include

other persons and/or entities known to hold Receivership assets.

         48.    Depending on the equity in each of the properties, appropriate action will be taken

to either sell, hold, donate, or abandon properties in order to maximize the return of cash to the

estate. It is too early to tell at this time what price the assets will sell for, the relative costs

associated with the sales, or the potential recovery benefit to the Receivership estate.




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        VII.   DESCRIPTION OF LIQUIDATED AND UNLIQUIDATED CLAIMS

        49.    This Ponzi scheme was primarily a cash-based scheme, and it is going to require

significant resources to unravel the claims of the Receivership estate. A review of the available

records indicates that the majority of the investments were paid in cash.

        50.    The Receiver will have substantial claims for bonuses and commissions for a large

number of third parties and is evaluating collectability from these parties. The Receiver team

continues to research additional claims against third parties.

                         VIII. LIST OF ALL KNOWN CREDITORS

        51.    At this preliminary stage, the only known commercial creditor is BZO Custom

Wheels, LLC, the landlord of the CryptoFX’s offices on Blalock (“Landlord”). Landlord has an

unliquidated claim for approximately $20,239.18 against the Receivership estate, which includes

rent and utility bills. The Receiver and his team negotiated the sale of certain Receivership

personal property at Blalock to set off Landlord’s claim, bringing the final settlement amount to

$17,209.18. The Receiver’s team also negotiated and the Landlord agreed to terminate the lease

on October 31, 2022, although the Receiver vacated the premises of the Blalock office on

December 7, 2022.

        52.    The Receiver is not aware of other commercial creditors at this stage.

IX.     RECEIVER’S PROPOSED PLAN FOR ADMINISTERING THE RECEIVERSHIP

        53.    The Receiver recommends the continuation of the Receivership.

        54.    The Receiver’s key focus for the next 90 days will be on the following tasks:

                  File Motion to Compel against Chavez to request turnover of CryptoFX
                   business records, records related to other businesses in which he has an interest
                   and electronic devices in his possession
                  Review documents collected from CryptoFX employees, sponsors, and other
                   third parties
                  Review data and documents from Salesforce



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                  Determine other third parties who may possess relevant information and/or
                   documents and serve additional freeze letters and subpoena such records and
                   witness testimony, including from CryptoFX former employee and/or agents
                  Trace funds to locate additional assets
                  Determine commissions paid and if those will be pursued
                  Determine Net Winners
                  Develop electronic claim form for investors
                  Establish claims verification process
                  Continue working with realtors and appraisers to sell the real properties
                  Determine resale value of personal property and the appropriate method of sale
                   in order to maximize the benefit to the Receivership estate
                  Continue communications with sales agents and “investors” and/or their
                   counsel
                  Depose or interview additional CryptoFX and CBT employees and sales agents
                  File motions for turnover of Receivership assets
                  Continue to efforts to identify additional relevant cryptocurrency wallets and
                   trace distributions through cryptocurrency
                  Investigate issues on the purchase of hundreds of thousands of dollars of Money
                   Orders.

       55.     In addition, the Receiver and his counsel will continue to determine whether there

are claims against third parties that could result in meaningful recovery to the Receivership Estate.

       56.     The Receiver also intends to file a motion to expand the Receivership estate to

include individuals and entities that hold Receivership assets and/or funds.

       57.     Further, the Receiver and his team will continue to conduct a factual and legal

analysis of issues that could affect whether tracing should be applied to certain investments. Based

on the information and documents reviewed to date with estimated 40,000 investors and over $300

million in investments, with the majority of that in cash, some payments in cryptocurrency, and

other in money orders, a complete tracing of investments may not be possible and/or practicable.

       58.     In addition to analyzing the sources and uses of cash, the Receiver and his team

will continue to analyze transactions through the Defendants’ cryptocurrency and bank accounts.

The Receiver is in possession of transaction reports from Coinbase, Blockchain.com, Binance,




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Exodus, and Block, Inc., which appear to be the primary cryptocurrency platforms used by the

Defendants and leaders, as well as the Defendants’ bank account records.

       59.     To date, the Receiver has not located a set of books and records that tracked

CryptoFX’s cash, banking, investments and investor activity.           Instead, the transactions are

scattered among various reports, which must be analyzed by the Receiver’s team and compiled to

complete the Receiver’s analysis. If the Receiver is unable to locate a set of books or transaction

ledgers, the funds tracing analysis may be a lengthy manual process.

       60.     At this early stage, it is difficult to predict how long it will take for the Receiver to

complete his work. As the Receivership moves forward, the Receiver and his team will continue

their efforts to most efficiently recover and realize the value of assets for the benefit of the

Receivership Estate.


                                                    Respectfully submitted,

                                                    SHOOK, HARDY & BACON L.L.P.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 1st day of May, 2023, the above and foregoing document

was filed electronically through the CM/ECF system, which sent notification of such filing to all

known counsel of record, addressed as follows:

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